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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS                              *r8,
                             EASTERN DIVISION                    .,.Efr',? U $.          1*   ffi Y   E8fi1n,

UNITED STATES OF AMERICA

              v.                            *" J      8CR 915
EMANUEL DAMERON                             Violation: Title 18, United States Code,
                                            Section   e22(d(J)
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      The SPECIAL JULY 2018 GRAND JURY charges:

      On or about July 5, 2018, at Chicago, in the Northern District of Illinois,

Eastern Division,

                            EMANUEL DAMERON,

defendant herein, having previously been convicted of a crime punishable by a term

of imprisonment exceeding one year, knowingly possessed    in and affecting interstate

commerce a firearm, namely, a Beretta Model84F, .380 caliber semi-automatic pistol,

with a defaced serial number, which firearm had traveled in interstate            commerce

prior to the defendant's possession of the firearm;

      In violation of Title 18, United States Code, Section 922(d0).
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                                FORFE ITI]RE ALLE GATION

      The SPECIAL JULY 2018 GRAND JURY alleges:

      1. Upon conviction   of an offense in violation of Title 18, United States Code,

Section 922(g), as set forth in this Indictment, defendant shall forfeit to the United

States of America any firearm and ammunition involved       in and used in the offense

as provided   in Title 18, United States Code, Section 924(dX1) and Title 28, United

States Code, Section 2461(c).

      2.   The property to be forfeited included, but is not limited to, a Beretta Model

84F, .380 caliber semi-automatic pistol, with a defaced serial number, with associated

ammunition.


                                        A TRUE BILL:



                                        FOREPERSON


UNITED STATES ATTORNEY
